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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Louisiana

FLORIDA GAS TRANSMISSION COMPANY, LLC

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Plaintiff(s) )
V. Civil Action No, 24-cv-122 -BAJ-RLB

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8.22 ACRES, MORE OR_LESS, SITUATED IN
IBERVILLE PARISH, LOUISIANA, MURRELL
FAMILY L.L.C, AND FOREST HOME PLANTATION,
LLG

Defendant(s) —

SUMMONS IN A CIVIL ACTION

Forest Home Plantation, L.L.C.
c/o George Murrell

9018 Jefferson Hwy., Ste. A
Baton Rouge, LA 70809

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Matthew Simone

c/o Liskow & Lewis

450 Laurel Street, St. 1601
Baton Rouge, Louisiana 70801
Telephone: 225-341-4660
Facsimile: 225-341-5653

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Michael L. McConnell
CLERK OF COURT

February 20, 2024 CPeeci: SLamtintink

Date: = NS
Signature of Clerk or Deputy Clerk

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Case 3:24-cv-00122-BAJ-RLB Document4 02/20/24 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 24-cv-122

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Forest Home Plantation, L.L.C

was received by me on (date) February 29, 2024

® I personally served the summons on the individual at (place) 9018 Jefferson Highway, Suite A

Baton Rouge, LA 70809 _ On (date) March 1, 2024 par

© 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > or

1 | returned the summons unexecuted because 3 0r
Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: March 1, 2024 _

Server's signature

Roy P. Chauvin, Jr., Paralegal

Printed name and title

701 Poydras St., Ste. 5000, New Orleans, LA 70139 _
Server's address

Additional information regarding attempted service, etc:
